USCA4 Appeal: 24-1279      Doc: 11         Filed: 08/26/2024    Pg: 1 of 2




                                            UNPUBLISHED

                               UNITED STATES COURT OF APPEALS
                                   FOR THE FOURTH CIRCUIT


                                              No. 24-1279


        KIMBERLY A. HOLLAND,

                            Plaintiff - Appellant,

                     v.

        TRANSAMERICA LIFE INSURANCE COMPANY,

                            Defendant - Appellee.



        Appeal from the United States District Court for the District of Maryland, at Greenbelt.
        Peter J. Messitte, Senior District Judge. (8:23-cv-02507-PJM)


        Submitted: August 22, 2024                                        Decided: August 26, 2024


        Before WILKINSON, WYNN, and RICHARDSON, Circuit Judges.


        Affirmed by unpublished per curiam opinion.


        Kimberly A. Holland, Appellant Pro Se. Geoffrey M. Gamble, SAUL EWING LLP,
        Baltimore, Maryland, for Appellee.


        Unpublished opinions are not binding precedent in this circuit.
USCA4 Appeal: 24-1279      Doc: 11         Filed: 08/26/2024     Pg: 2 of 2




        PER CURIAM:

               Kimberly A. Holland appeals the district court’s order dismissing her complaint in

        which she alleged claims for breach of contract and unjust enrichment based on the denial

        of her claim for benefits under an insurance policy following her mother’s death as barred

        by the statute of limitations. We have reviewed the record and find no reversible error.

        Accordingly, we affirm the district court’s order. Holland v. Transamerica Life Ins. Co.,

        No. 8:23-cv-02507-PJM (D. Md. Mar. 12, 2024). We dispense with oral argument because

        the facts and legal contentions are adequately presented in the materials before this court

        and argument would not aid the decisional process.

                                                                                      AFFIRMED




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